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                Annex 12
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              ([KLELW &
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                                   [TRANSLATION]


00:00 –            : Homs, Baba Amr, 2/7/2012, T-72 tanks and shilka are surrounding and
bombarding the neighborhood.

00:13 – [Sounds of explosions]

00:18 – [Sound of video is lost]
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‫‪ :‬حمص‪ ،‬بابا عمر‪ ،2012/2/7 ،‬دبابات ت‪ 72-‬و شلكة تحاصر وتقصف الحي‪.‬‬        ‫‪- 00:00‬‬
                                                     ‫‪[ - 00:13‬أصوات انفجارات]‬
                                                      ‫‪[ - 00:18‬يتم فقدان الصوت]‬
